 Case 3:21-cv-00870-S Document 102 Filed 03/15/24   Page 1 of 13 PageID 558



                     UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF TEXAS


UNITED STATES OF AMERICA and
STATE OF FLORIDA ex rel.
OMNI HEALTHCARE, INC.

                Plaintiffs,
                                             Case No.: 3-21-cv-0870-S
  v.

STEWARD HEALTH CARE SYSTEM LLC;
STEWARD HEALTH CARE HOLDINGS LLC;
STEWARD HEALTH CARE INVESTORS, LLC;
CERBERUS CAPITAL MANAGEMENT, L.P.;
STEWARD PHYSICIAN CONTRACTING, INC;
STEWARD MELBOURNE HOSPITAL, INC d/b/a
MELBOURNE REGIONAL MEDICAL CENTER;
STEWARD ROCKLEDGE HOSPITAL, INC. d/b/a
ROCKLEDGE REGIONAL MEDICAL CENTER;
RALPH DE LA TORRE; MICHAEL CALLUM;
DANIEL KNELL; JOSH PUTTER; TIM
CROWLEY AND JAMES RENNA,

                        Defendants.


                     REPLY BRIEF IN SUPPORT OF
               STEWARD DEFENDANTS’ MOTION TO DISMISS




                                      i
  Case 3:21-cv-00870-S Document 102 Filed 03/15/24                  Page 2 of 13 PageID 559



       Relator’s Opposition defends a complaint that Relator seemingly wishes it had filed rather

than the one submitted. The very first substantive sentence of Relator’s brief changes the First

Amended Complaint’s (FAC) allegation of a “Realignment Scheme” to an “Exclusive Referral

Scheme.” But does the FAC allege an exclusive referral scheme? The answer is clearly no.

       First, Relator repeatedly alleges that First Choice surgeons operated at local competitors

throughout the relevant period, including Health First hospitals and an unnamed ambulatory

surgery center. Relator alleges: “Health First, the largest healthcare system in the area . . .

accounted for more than 20% of First Choice’s business” (FAC ¶ 118); at least months into the

alleged scheme in April 2018, First Choice surgeons were performing 121 surgeries per month at

Health First (FAC ¶ 135); and First Choice surgeons seemingly performed hundreds or thousands

of surgeries at an unnamed ambulatory surgery center unaffiliated with Steward (FAC ¶ 98).

       Second, there is no allegation any First Choice surgeon exclusively operated at a Steward

facility, let alone because of a kickback he received. Instead, Relator alleges that First Choice CEO

Chris Romandetti “proposed First Choice hire a neurosurgeon who would exclusively perform

surgeries at Steward hospitals, provided that Steward guaranteed the doctor’s salary.” FAC ¶ 94.

But there is no allegation any Steward Defendant responded or agreed to implement the proposal,

or that the neurosurgeon was ever hired or operated at a Steward hospital. The allegation

undermines rather than supports the notion of an exclusive referral scheme.

       Third, Relator asserts (at p. 10) that it has alleged that “First Choice [] exclusively

refer[red]” “2,393 patients to Steward between 2018 and 2020.” The apparent source for that

assertion is Paragraph 164, which states “Between 2018 to 2020 [sic], First Choice referred 2,393

patients to Dr. L.” Relator does not allege Dr. L was employed by a Steward entity. In fact, Relator

alleges (at FAC ¶ 131) Dr. L is a “First Choice[] contracted physician.” There is no allegation Dr.


                                                 1
    Case 3:21-cv-00870-S Document 102 Filed 03/15/24                 Page 3 of 13 PageID 560



L performed all of his or her surgeries, or any surgery, at a Steward facility. Plainly, a First Choice

employed physician’s referrals to unknown providers does not show an exclusive referral scheme

between First Choice and the Steward Defendants.

        Relator’s inability to correctly describe the alleged scheme is indicative of the repeated

errors and mischaracterizations it makes as it tries to save its inadequate FAC from dismissal.

        A.     Relator fails to state a claim under Rule 12(b)(6).

               1.      Relator fails to plead causation under the Anti-Kickback Statute.

        In our opening brief (at pp. 8-11), we showed a relator must plead an AKS violation is the

but-for cause of a false claim being submitted, which Relator failed to do. The government filed a

statement of interest on this issue, which Relator relies on to oppose our causation argument. 1

        In 2010, Congress amended the AKS, adding that: “a claim that includes items or services

resulting from a violation of this section constitutes a false or fraudulent claim for [the FCA].” 42

U.S.C. § 1320a-7b(g). “The ordinary meaning of ‘resulting from’ is but-for causation.” United

States ex rel. Martin v. Hathaway, 63 F.4th 1043, 1052 (6th Cir.); United States ex rel. Cairns v.

D.S. Med. LLC, 42 F.4th 828, 836 (8th Cir. 2022) (holding “‘resulting from’ . . . is unambiguously

causal”). If a claim did not result from an AKS violation, then it is not a false claim. No further

analysis is needed. “[I]it is the words of the statute that set the metes and bounds of the [law

enacted] by Congress. . . . When the language of the federal statute is plain and unambiguous, it



1
  Oddly, the government argues (at pp. 3-4) that this Court “does not have to determine the proper
standard for causation under the AKS at the motion-to-dismiss stage.” The government cites (at
pp. 6-7) the Fifth Circuit’s Grubbs case from 2009 that relies on the pre-2010 amendment version
of the AKS; that is, the version that lacked subsection 1320a-7b(g). Gov’t Statement at 4 (citing
United States ex rel. Grubbs v. Kanneganti, 565 F.3d 180, 190 (5th Cir. 2009)). A case interpreting
the AKS before subsection 1320a-7b(g) was enacted is of little use in determining the meaning of
that subsection. But in any event, Grubbs merely states the pleading standard for FCA claims under
Rule 9(b). If but-for causation is required for liability of AKS-based FCA claims, Grubbs does not
allow a relator to fail to adequately plead causation and yet survive dismissal.
                                                    2
  Case 3:21-cv-00870-S Document 102 Filed 03/15/24                     Page 4 of 13 PageID 561



begins and ends our enquiry.” Thompson v. Goetzmann, 337 F.3d 489, 495 (5th Cir. 2003).

        Three Courts of Appeals have decided the issue, with the Sixth Circuit and Eighth Circuit

holding that subsection 1320a-7b(g) requires but-for causation, while the Third Circuit held that

only a “link between the alleged kickbacks and the medical care received” by a patient is required.

United States ex rel. Greenfield v. Medco Health Sols., Inc., 880 F.3d 89, 100 (3d Cir. 2018).

Greenfield was wrongly decided. “The [Third Circuit in Greenfield] court did not perform a textual

analysis of the term ‘resulting from,’ or consider how that phrase had been interpreted in other

contexts.” United States v. Regeneron Pharms., Inc., No. CV 20-11217-FDS, 2023 WL 6296393,

at *8 (D. Mass. Sept. 27, 2023); Cairns, 42 F.4th at 836 (noting Greenfield “adopted an approach

that we have already rejected: relying on legislative history and ‘the drafters’ intentions’ to

interpret the statute”); Martin, 63 F.4th at 1054 (“[T]he Third Circuit’s contrary conclusion offers

little assistance because it turns primarily on legislative history.”). 2

        The government would have this Court effectively strike the “resulting from” language

from the law. The government asserts (at p. 2) that departing from the plain text is justified by a

contrary “contextual indication,” namely that a co-sponsor of the 2010 amendment said it was

meant to “strengthen whistleblower actions.” This argument should be summarily rejected. Martin

addresses this specific legislative history and rejected it because courts “do not consider legislative

history in construing a statute with criminal applications, the idea being that no one should be

imprisoned based on a document or statement that never received the full support of Congress and

was presented to the President for signature.” Martin, 63 F.4th at 1054. Courts “need not—and,



        2
        The district court opinions cited by the government are no more persuasive. The quoted
statement from Hueseman, for example, was dicta on an unbriefed issue, as “the question of
whether to endorse [Cairns’s] causation standard is not properly before the Court” because (1) it
was waived and (2) it was “inapplicable” due to the government’s arguments. United States ex rel.
Hueseman v. Pro. Compounding Centers of Am., Inc., 664 F. Supp. 3d 722, 742 (W.D. Tex. 2023).
                                                3
  Case 3:21-cv-00870-S Document 102 Filed 03/15/24                  Page 5 of 13 PageID 562



indeed, should not—look to legislative history when the statute is clear on its face.” Thompson,

337 F.3d at 495. Indeed, the Fifth Circuit has held that “reliance on a statement by a co-sponsor

highlights the problems with using legislative history to determine Congressional intent,” in part

because “this history expresses the intent of only a single member of Congress” and thus “risks . .

. giving conclusive weight to a statement of only one member of Congress.” Dial One of the Mid-

S., Inc. v. BellSouth Telecommunications, Inc., 269 F.3d 523, 526 (5th Cir. 2001).

       The government also argues (at p. 5) the remuneration element already provides a “nexus

requirement” for AKS claims because remuneration must be solicited or received “in return for”

or offered or paid with intent “to induce” services. But that would make subsection 1320a-7b(g) a

dead letter. The Sixth Circuit in Martin explained the but-for causation element imposes a distinct

requirement, as a relator could plead an AKS violation but fail to allege causation where “the

alleged scheme did not change anything” and thus fail to adequately allege an FCA violation. 63

F.4th at 1053; see also Cairns, 42 F.4th at 835 (explaining how alternative readings of the

subsection are “hardly causal at all”). The government’s statement of its policy preferences are

better suited to a letter to Congress than a brief to this Court. Relator has failed to plead but-for

causation (which no one disputes), and thus its claims must be dismissed.

               2.      Relator fails to plead a Stark Law violation.

       In our opening brief (at pp. 11-14), we demonstrated that Relator failed to allege that the

Steward Defendants violated the Stark Law for three reasons. Relator fails to respond to our

arguments, refusing to apply the allegations of the FAC to the elements of a Stark Law violation.

       First, Relator failed to allege that First Choice surgeons referred Designated Health

Services (DHS) to Steward hospitals. DHS are enumerated 42 U.S.C. § 1395nn(h)(6) and do not

include professional services, such as surgeries. See United States ex rel. Bookwalter v. UPMC,

946 F.3d 162, 168 (3d Cir. 2019). Because Relator failed to allege any specific DHS referred to
                                             4
  Case 3:21-cv-00870-S Document 102 Filed 03/15/24                   Page 6 of 13 PageID 563



Steward hospitals, the Stark-based FCA claims must be dismissed.

       Second, Relator fails to plead any relevant financial relationship exists between First

Choice surgeons and the Steward hospitals. Relator alleges in the FAC that Steward and the

referring First Choice surgeons have a “direct compensation arrangement” based on SHCS’s

“guarantee” of First Choice surgeons’ salaries (FAC ¶ 156), but Relator fails to allege that

remuneration passed directly between the First Choice surgeon and the Steward hospitals. The

opposition brief is silent on this point, conflating SHCS with the hospitals that furnish the DHS.

       Third, Relator fails to plead that any Steward Defendant knowingly violated the Stark Law,

which is required to create FCA liability. Even in its opposition brief (at p. 22), Relator merely

argues that “defendants knew their partnership with First Choice would boost referrals for the

Steward orthopedic practice.” That is a far cry from even arguing that a Steward Defendant

knowingly paid for DHS referrals, let alone including the allegation in the FAC.

       Relator separately alleges that Steward’s relationship with a Suntree Internal Medicine

physician violates the Stark Law. But, as stated in our opening brief (at pp. 24-25), Relator fails to

allege: 1) that any financial relationship existed between the Suntree physician and SHCN, the

entity to which Suntree was allegedly to exclusively refer patients; and 2) Relator fails to allege

that the Suntree physician referred any DHS to SHCN.

       B.      Relator fails to plead FCA violations with particularity under Rule 9(b).

               1.      The Medicare and TRICARE claims are deficient.

       In our opening brief (at pp. 14-17), we showed that claims against Steward Defendants

should be dismissed because Relator failed to adequately allege the scheme involves federal

government claims. Relator does not respond to our arguments and instead points to yet another

irrelevant, general allegation about Medicare. Relator asserts (at p. 23 (citing FAC ¶ 131)) the

Medicare allegations are “not speculative” because the FAC alleges “how Medicare fee-for-service
                                                5
  Case 3:21-cv-00870-S Document 102 Filed 03/15/24                  Page 7 of 13 PageID 564



charges increased after the ‘strategic partnership’ [began].” Paragraph 131 says “First Choice’s

contracted physicians saw an increase” of Medicare charges after the partnership began. Paragraph

131 does not allege that these Medicare charges were the result of surgeries performed at Steward

hospitals. Steward is completely absent from the allegations in Paragraph 131.

       After we demonstrated that there are no allegations of any TRICARE claims submitted by

the Steward Defendants, Relator dropped a footnote (at p. 23 n.2) asserting that “the AC clearly

states that all allegations mentioning Medicare also include other government healthcare programs,

extending the allegations to TRICARE.” How that assertion by Relator is consistent with the

pleading standards of Iqbal and Twombly is a mystery. In any event, Relator is required to plead

with particularity that Steward Defendants submitted TRICARE claims as part of the scheme.

       Relator asserts (at p. 24) that we “question[ed] the credibility of Relator’s specific

examples” from Paragraph 166 of the FAC, something that is inappropriate at the dismissal phase.

But pointing to deficiencies in allegations is precisely what a motion to dismiss should do.

Specifically, we noted that the five specific claims alleged did not include the date of the claim or

whether the surgery was performed at a Steward hospital. We asked whether the five claims were

submitted in 1990, a month ago, or during the relevant period, and noted that Relator does not say.

Relator still does not say. The five undated claims performed at unidentified hospitals do not help

Relator’s allegations move from possible to plausible. United States ex rel. Benaissa v. Trinity

Health, 963 F.3d 733, 740 (8th Cir. 2020) (dismissing complaint that “speculate[s] that claims

must have been submitted, were likely submitted or should have been submitted to the

Government”).

               2.    The Steward Health Care Holdings, Steward Health Care Investors,
               Steward Physician Contracting, and Dr. Ralph de la Torre claims fail.

       In our opening brief (at pp. 17-18), we argued there were virtually no substantive

                                                 6
  Case 3:21-cv-00870-S Document 102 Filed 03/15/24                   Page 8 of 13 PageID 565



allegations against Steward Health Care Holdings, Steward Health Care Investors, Steward

Physician Contract, and Dr. Ralph de la Torre. In response, Relator misstates the law.

       Relator argues (at p. 13) “it is inappropriate to determine the relationship between

defendants at the motion to dismiss stage,” and a relator simply has to allege a corporate defendant

is a subsidiary of another defendant to pass muster. That is obviously wrong. “The requirements

of Rule 9(b) must be met for each defendant.” United States ex rel. Emerson Park v. Legacy Heart

Care, LLC, No. 3:16-CV-0803-S, 2019 WL 4450371, at *3 (N.D. Tex. Sept. 17, 2019) (Scholer,

J.). Here, Relator (at p. 13) defends naming Steward Holdings as a defendant on the ground that it

“holds all of Steward’s outstanding common membership interests,” Steward Investors on the

grounds that it “holds all of the membership interests in Steward Holdings,” and Steward

Contracting on the grounds that it “is a subsidiary of [non-defendant] Steward Medical Group, Inc.

and received the five million shares purchased from First Choice.” Those allegations, which are

all of the allegations in the FAC about these entities, reflect Relator’s mistaken view (at p. 13) that

it only needs to plead “their involvement in the Steward enterprise” to state claims against them.

       Regarding Dr. de la Torre, he allegedly “initiated the group agenda circulated before the

meeting which outlined the true intention behind the ‘strategic partnership.’” Opp. at 14 (citing

FAC ¶ 94). That meeting occurred a year before the stock sale and does not say Dr. de la Torre

“initiated the group agenda” but instead describes Romandetti’s view of the partnership without

alleging how any Steward Defendant responded. FAC ¶ 94. There is also an allegation (FAC ¶ 97)

of how a “potential partnership with First Choice” “ might be presented to de la Torre” without

ever alleging it was actually presented to him and a general allegation that every individual

defendant (including Dr. de la Torre) tracked cases and urged First Choice to increase referrals

(FAC 127) without explaining when or how Dr. de la Torre tracked a single surgery or had a single


                                                  7
  Case 3:21-cv-00870-S Document 102 Filed 03/15/24                   Page 9 of 13 PageID 566



communication with anyone at First Choice urging more referrals. These allegations fall woefully

short of alleging Dr. de la Torre violated the FCA. See Park, 2019 WL 4450371 at *4 (“Relator’s

conclusory allegations that these defendants had knowledge of and participated in the FCA

violations do not plead specific fraudulent conduct on their part.”).

               3.      The Steward Space Coast hospitals allegations are deficient.

       In our opening brief (at pp. 18-22), we detailed how the allegations against the Steward

Space Coast Hospitals were sparse and inadequate. Relator (at p. 14) barely offers up a response.

       Relator says the hospitals “were specifically assigned as the recipients of the illegal referral

benefits” and cites Paragraphs 95 and 101. Regarding the hospitals, Paragraph 95 merely says “the

Space Coast hospitals provided fertile testing ground for the success of the partnership.” That

general allegation gets Relator nowhere. Paragraph 101 says in October 2017 “a spreadsheet was

circulated detailing how the 1,225 incremental surgeries would flow to” the three hospitals. That

allegation, however, is merely a projection. There is no allegation any of these surgeries were

actually performed at a Steward hospital. Paragraph 101 does not even say that the spreadsheet

was circulated to anyone at Steward. Relator (at p. 14) doubles down on its group pleading,

asserting “the broader scheme outlined throughout the AC applies as much to the Space Coast

hospitals as the other Defendants.” To quote this Court, “Does Relator not understand that [it] may

not simply lump Defendants together?” Park, 2019 WL 4450371 at *4.

               4.      The Steward Health Care System allegations are deficient.

       In our opening brief (at p. 22-23), we explained how Relator failed to adequately plead that

SHCS violated the FCA. In response, Relator resorts to group pleading and incoherent arguments.

       Relator asserts (at p. 15) SHCS “utilized First Choice’s physician referral system.” How?

SHCS is a limited liability company, and an “LLC acts through its managers, employees, and

agents.” Green v. Skyline Highland Holdings LLC, No. 4:17-CV-00534 BSM, 2017 WL
                                                  8
 Case 3:21-cv-00870-S Document 102 Filed 03/15/24                    Page 10 of 13 PageID 567



10607256, at *3 (E.D. Ark. Dec. 13, 2017). Which SHCS employee utilized First Choice’s

physician referral system? Relator does not say and instead says that the FAC has three general

references to “Steward Physicians.” Again, though, there is no allegation that SHCS employed any

practicing physician. The references in the FAC to “Steward Physicians” Relator cites make clear

that Relator is simply labeling surgeons employed by First Choice as “Steward Physicians.” At

Paragraph 132, for example, Relator alleges “First Choice employed 11 physicians to perform

surgeries at Steward facilities” and “Of the 7 orthopedic surgeons amount the First Choice/Steward

physicians performing surgeries at Steward facilities . . . .” Relator never identifies any surgeons

employed by Steward during the period of the alleged scheme. See FAC ¶ 146 (alleging Steward

hired doctors from unnamed practices, seemingly in 2019 or 2020). Instead, it appears that Relator

considers a First Choice surgeon to be a “Steward Physician” because Steward “guaranteed the

salaries” of First Choice surgeons; Steward guaranteed First Choice surgeon salaries “by making

the physician sit on the referring side as well as the treating side.” FAC ¶ 130. That allegation is

virtually unintelligible. Seemingly, Relator means that a First Choice surgeon has its salary

guaranteed by Steward when the surgeon chooses to operate on a patient at a Steward hospital

(thus both referring and treating the patient). But a surgeon at a practice (such as First Choice) that

does not own a hospital with an operating room is always “on the referring side as well as the

treating side.” Further, Relator alleges First Choice surgeons operated at Health First hospitals;

why is it not equally true that First Choice surgeons were “on the referring side as well as the

treating side” for the surgeries performed at Health First? Did Health First “guarantee” First

Choice surgeon salaries, too, making the surgeons “Health First Physicians”? The FAC (at ¶ 130)

says an example of this arrangement was “Dr. B,” but Relator merely alleges First Choice offered

that Dr. B. could practice at Rockledge Hospital. There is no allegation of any Steward Defendant’s


                                                  9
    Case 3:21-cv-00870-S Document 102 Filed 03/15/24                 Page 11 of 13 PageID 568



response or involvement in that offer or that Dr. B ever practiced at Rockledge.

        Relator also argues (at p. 15) SHCS submitted “false claims for inpatient surgeries through

CMS Form 1450 and the annual cost report.” Does SHCS have billing and claims processing

departments? Who at SHCS submitted the forms and report? The only employees of SHCS that

are identified in the FAC are Dr. de la Torre, Callum, Knell, Putter, and Crowley, and there is no

allegation one of them submitted these forms or reports. Relator tries to sidestep the obvious group

pleading problems by asserting (at p. 16) that “Steward” is defined in the FAC to include not only

SHCS but “the entire Steward Healthcare-related ‘hospital chain’” including “the entire Steward

operation as ‘Steward Hospitals’ and ‘Steward hospital systems.’” Again, Relator does not seem

to understand that group pleading is impermissible. Relator thus effectively admits that without

lumping together all of the Steward Defendants, it cannot state a claim against SHCS.

               5.      Relator fails to plead Florida state law False Claims Act claims.

        In our opening brief (at pp. 23-24), we showed that Relator fails to adequately plead Florida

state FCA claims. In response (at p. 24), Relator points to one allegation: that the chart of so-called

specific claims in Paragraph 166 of the FAC “implicat[es] Florida healthcare programs.” In fact,

Relator’s response shows the inadequacy of its allegations. The FAC (at ¶ 29) alleges “claims

under the Florida FCA for the Medicaid false claims alleged in this Complaint.” The chart in

Paragraph 166 contains no Florida Medicaid claims. The two claims in the chart that Relator points

to are “Florida Medicare” claims. Plainly, alleging Florida Medicare claims does not indicate that

any Florida Medicaid claims were submitted. Further, the chart does not include the date of the

claims, among other deficiencies, so the allegations inadequate for many reasons. 3


3
  Relator asserts (at p. 11) the five specific claims in the chart in Paragraph 166 were both
“referred by First Choice and treated at Steward facilities by First Choice-employed physicians”
and “referred by First Choice to a Steward physician” as part of the purported scheme. If Relator
itself cannot figure out what Paragraph 166 alleges, neither can the Court or Steward Defendants.
                                                    10
 Case 3:21-cv-00870-S Document 102 Filed 03/15/24     Page 12 of 13 PageID 569



Dated: March 15, 2024              Respectfully submitted,

                                   McDermott Will & Emery LLP

                                   By:    /s/ David Genender
                                          David Genender (Bar No. 00790757)
                                          Kaylynn Webb (Bar No. 24118583)
                                          2501 North Harwood Street, Suite 1900
                                          Dallas, Texas 75201
                                          (214) 295-8043
                                          dgenender@mwe.com
                                          kwebb@mwe.com

                                          Mark W. Pearlstein (admitted pro hac vice)
                                          200 Clarendon Street, Floor 58
                                          Boston, Massachusetts 02116
                                          (617) 535-4000
                                          mpearlstein@mwe.com

                                          Alexander Kritikos (admitted pro hac vice)
                                          845 Texas Avenue, Suite 4000
                                          Houston, TX 77002
                                          (713) 653-1700
                                          akritikos@mwe.com

                                          Theodore E. Alexander (admitted pro hac
                                          vice)
                                          500 North Capitol Street, N.W.
                                          Washington, D.C. 20001
                                          (202) 756-8000
                                          talexander@mwe.com


                                          Attorneys for Steward Health Care System
                                          LLC; Steward Health Care Holdings LLC;
                                          Steward Health Care Investors, LLC;
                                          Steward Physician Contracting, Inc.;
                                          Steward Melbourne Hospital, Inc. d/b/a
                                          Melbourne Regional Medical Center;
                                          Steward Rockledge Hospital, Inc. d/b/a
                                          Rockledge Regional Medical Center;
                                          Sebastian River Hospital, Inc. d/b/a
                                          Sebastian River Medical Center; and Ralph
                                          de la Torre




                                     11
 Case 3:21-cv-00870-S Document 102 Filed 03/15/24                 Page 13 of 13 PageID 570



                                CERTIFICATE OF SERVICE

       I hereby certify that on March 15, 2024, I electronically filed the foregoing document using

the Court’s ECF system, which will send notice of the filing to all counsel of record via e-mail.



                                                     /s/ David Genender___
                                                     David Genender




                                                12
